                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE      Motion GRANTED.
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
VS.                                          )       Criminal No: 3:13-cr-00057
                                             )       JUDGE TRAUGER
DASHAWN LLOYD,                               )


                       MOTION TO CONTINUE TRIAL DATE

       Comes now the Defendant, Dashawn Lloyd, by and through his attorney Erik Herbert and

respectfully requests this Honorable Court continue the trial date in the above captioned case

from February 4, 2014 to a later date convenient to Court and Counsel. In support thereof the

defendant states as follows:

       1. On December 2, 2013, this Court granted the defendant’s unopposed Motion to

           Continue the Trial date and set this matter for trial on February 4, 2014 (DE 51).

           Counsel for Mr. Lloyd has a trial set on February 3, 2014 and February 5, 2014 in the

           matter of Massey v. Davis set in Williamson County in front of the Honorable Sharon

           Guffee. This trial has been set for several months and is a retrial of a matter that was

           tried in August 2013. Counsel believes that there is an extremely high likelihood this

           matter will go to trial.

       2. Counsel is in settlement negotiations with the Government and is hopeful a resolution

           can be reached but securing a trial date that does not conflict with counsel’s current

           trial schedule will help ensure counsel is ready for trial in the event an agreement is

           not reached.




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